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                     EXHIBIT 8
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               Office of the General Counsel
                   3211 FOURTH STREET NE  WASHINGTON DC 20017-1194  202-541-3300  FAX 202-541-3337



                                        September 6, 2023

 By Electronic Mail Only

 Ms. Cindy Page
 American Freedom Law Center
 cpage@aflc.us


 Re:     Subpoena for Documents Issued on September 5, 2023
         Doe v. Mast, W.D. Va Civil Action No. 3:22cv00049-NKM-JCH


 Dear Ms. Page,

        I am writing in response to the subpoena issued by Richard Mast on September 5,
 2023, demanding “[a]ll documents and communications, including those previously produced
 pursuant to Virginia case #CL22000186-00 subpoena of May 16, 2022, created or sent by
 USCCB or by social workers or legal workers contracting on behalf of USCCB at Fort Pickett,
 VA, regarding the petitioners, respondents, or child subject to the suit as referenced in the
 May 16, 2022 subpoena previously served on USCCB.”

        The Conference typically does not maintain materials regarding specific migration
 cases handled on behalf of the U.S. Government. We nevertheless conducted an extensive
 search for any responsive materials. That search revealed documents in the custody of one
 USCCB social worker who was assigned to Fort Pickett during the project known as Operation
 Allies Welcome in 2021. Those documents are being produced in both native and pdf
 formats. The pdf versions of the documents include BATES numbers.

        Please note that many of the documents contain information that we would normally
 not release due to its personally sensitive nature. Because the documents appear to be in our
 possession only because a single social worker maintained them without authorization, and
 because all the sensitive information refers to individuals who are parties to this litigation, we
 have decided to produce it without redactions.


                                              Sincerely,



                                              William J. Quinn
                                              General Counsel


 encl.   USCCB_001-111
